Case: 2:18-cv-00544-EAS-KAJ Doc #: 104 Filed: 06/13/22 Page: 1 of 4 PAGEID #: 5739




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


 MELISSAMCFADDEN,
                Plaintiff,
                                                   CaseNo. 2:I8-cv-544
         V.
                                                   JUDGEEDMUNDA. SARGUS,JR.

 CITY OF COLUMBUS,
                Defendant.


                                   VERDICT FORM NO. 1

Do you find by a preponderance of the evidence that Defendant City of Columbus racially
discriminated against Plaintiff Lt. Melissa McFadden in violation of Title VII of the Civil Rights
Act of 1964, Ohio Revised Code § 4112, and42 U. S.C. § 1983?
                                            x       Yes
                                                    -or-
                                                    No
Case: 2:18-cv-00544-EAS-KAJ Doc #: 104 Filed: 06/13/22 Page: 2 of 4 PAGEID #: 5740




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTMCT OF OHIO
                                EASTERN DIVISION


 MELISSAMCFADDEN,
               Plaintiff,
                                              Case No. 2:18-cv-544
                                              JUDGE EDMUND A. SARGUS, JR.

 CITY OF COLUMBUS,
               Defendant.


                                VERDICT FORM NO. 2

Only complete this form if you answered"Yes"to Verdict FormNo. 1.

The amount of compensatory damages to which Lt. McFadden is entitled for her race

d~"nd""te . I
Case: 2:18-cv-00544-EAS-KAJ Doc #: 104 Filed: 06/13/22 Page: 3 of 4 PAGEID #: 5741




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


 MELISSA MCFADDEN,
               Plaintiff,                       CaseNo. 2:18-cv-544
        V.
                                                JUDGE EDMUND A. SARGUS, JR.


 CITY OF COLUMBUS,
               Defendant.


                                 VERDICT FORM NO. 3

Doyoufindby a preponderance oftheevidencethatDefendantCity ofColumbus retaliated against
PlaintiffLt. Melissa McFadden in violation of Title VII of the Civil Rights Act of 1964, Ohio
Revised Code §4112, and 42 U. S.C. § I983?
                                          x      Yes
                                                 - or-
                                                 No
Case: 2:18-cv-00544-EAS-KAJ Doc #: 104 Filed: 06/13/22 Page: 4 of 4 PAGEID #: 5742



                      IN THE UNITED STATES DISTMCT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


  MELISSAMCFADDEN,
               Plaintiff,
                                                 Case No. 2:18-cv-544
                                                JUDGEEDMUNDA. SARGUS,JR.

  CITY OF COLUMBUS,
               Defendant.


                                 VERDICT FORM NO. 4

Only complete this form if you answered "Yes" to Verdict Fonn No. 3.

The amount ofcompensatory damagesto whichLt. McFaddenis entitled for herretaliationclaim
IS:


                                     $

Signed:
 /s                fA                                  ///.Z /-? ^.5">
